Case 1:03-cV-01228-.]DB-tmp Document 31 Filed 05/06/05 Page 1 of 3 Page|D 56

IN THE uNITED srATEs DIsTRIcT coURT ""'"/‘ED 57 ,`
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C;g.»-§;"r"`?:f'i` S;' 7
Plaimiff, m ‘KSON
v. No. 03-1228-B/P

CORRECTIONS CORPORATION OF
AMERICA, et al.,

Defendants.

 

ORDER OF REFERENCE

 

The above matter is hereby referred to Magistrate Judge Tu Pham for all discovery and
non-dispositive motions presently pending and/or filed during the course of this litigation

¢EL
IT IS SO ORDERED this to day of May, 2005.

 

 

. DANIEL BREEN \
NITE sTATEs DISTRICT JUDGE

This document entered on the docket sheet ln compilaan
with nme 58 and/or 79 (a) FHCP on ` m -05

 

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Honorable J. Breen
US DISTRICT COURT

